Case 16-69381-sms      Doc 59    Filed 11/17/20 Entered 11/17/20 10:18:18            Desc Main
                                 Document     Page 1 of 4


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

      IN RE: LANDON BRADSHAW DICKERSON                     } CHAPTER 13
             TERRI LEIGH DICKERSON                         }
                                                           } CASE NO. A16-69381-SMS
                DEBTOR(S)                                  }
                                                           } JUDGE SIGLER


                      MOTION TO RE-CONVERT THIS CASE TO ONE
                                 UNDER CHAPTER 7

             COMES NOW MARY IDA TOWNSON, TRUSTEE in the above-referenced matter,

      and files this Motion to Convert this Case to One Under Chapter 7. The Trustee respectfully

      shows the Court as follows:

                                                 1.

             The Debtors filed for relief under Chapter 7 of Title 11 on October 30, 2016.

      Debtors’ case was converted to Chapter 13 on January 31, 2017. The Debtors’ plan was

      confirmed by the Court on April 25, 2017. The Debtors’ plan proposes to pay secured,

      priority and general unsecured creditors a 7.07% dividend or $5,938.96 pool of funds,

      whichever is greater.

                                                 2.

             Debtors have failed to comply with this Court's Order requiring regular monthly

      payments to the Trustee. The Debtors should have paid $57,015.97. The Debtors have paid a

      total of $53,529.85, causing a delinquency of $3,486.12.

                                                  3.

        The Debtors’ schedules show free and clear ownership of a 2016 Nissan Titan, thus

      showing a significant amount of equity in this vehicle. The Debtors have claims filed in

      the Chapter 13 case by general unsecured creditors and the proofs of claim have a
Case 16-69381-sms       Doc 59    Filed 11/17/20 Entered 11/17/20 10:18:18                Desc Main
                                  Document     Page 2 of 4


      remaining balance of $38,690.41. The equity in said vehicle appears to be sufficient to

      pay a substantial dividend to unsecured creditors and for the Debtors to retain their

      exemption.

                                                     4.

             The Trustee respectfully prays that the Court waive the filing fee for the filing of this

      Motion; or, in the alternative, that the Court defer the payment of said fee until such time as

      this Motion is granted and if there are funds available in the case at that time.

             WHEREFORE, the Trustee prays that this Chapter 13 case be converted to one under

      Chapter 7 pursuant to 11 U.S.C. Section 1307(b)and(c)(6) and for any other relief that may

      be just and proper.

             Respectfully submitted this      17th    day of November, 2020



                                                            /s/
                                             Albert C. Guthrie
                                             Attorney for the Chapter 13 Trustee
                                             Georgia Bar Number 142399
                                             285 Peachtree Center Ave., N.E.
                                             Suite 1600
                                             Atlanta, Georgia 30303
                                             (404) 525-1110
                                             albertg@atlch13tt.com
Case 16-69381-sms       Doc 59    Filed 11/17/20 Entered 11/17/20 10:18:18                  Desc Main
                                  Document     Page 3 of 4


                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

      IN RE: LANDON BRADSHAW DICKERSON                       } CHAPTER 13
             TERRI LEIGH DICKERSON                           }
                                                             } CASE NO. A16-69381-SMS
                DEBTOR(S)                                    }
                                                             } JUDGE SIGLER

         NOTICE OF HEARING ON MOTION TO RE-CONVERT TO CHAPTER 7

                                                  CASE

            PLEASE TAKE NOTICE that MARY IDA TOWNSON has filed a Motion to
      Re-Convert this case to one under Chapter 7.

             PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the
      motion in Courtroom 1201, United States Courthouse, 75 Ted Turner Drive, S.W.,
      Atlanta, Georgia at 10:00 a.m. on December 15, 2020.

      “Given the current public health crisis, hearings may be telephonic only. Please check the
      “Important Information Regarding Court Operations During COVID-19 Outbreak” tab at the top
      of the GANB Website prior to the hearing for instructions on whether to appear in person or by
      phone.”

              Your rights may be affected by the Court’s ruling on these pleadings. You should
      read these pleadings carefully and discuss them with your attorney, if you have one in this
      bankruptcy case. (If you do not have an attorney, you may wish to consult one). If you do
      not want the Court to grant the relief sought in these pleadings or if you want the Court to
      consider your views, then you and/or your attorney must attend the hearing. You may also
      file a written response to the pleading with the Clerk at the address stated below, but you are
      not required to do so. If you file a written response, you must attach a certificate stating
      when, how and on whom (including address) you served the response. Mail or deliver your
      response so that it is received by the Clerk at least two (2) business days before the hearing.
      The address of the Clerk’s Office is Clerk, United States Bankruptcy Court, Suite 1340,
      75 Ted Turner Drive, S.W., Atlanta, GA 30303, and a copy furnished to the party listed
      below: c/o Chapter 13 Trustee, Mary Ida Townson, Suite 1600, 285 Peachtree Center
      Avenue., N.E., Atlanta, GA 30303.

                                                                      /s/
                                                     Albert C. Guthrie
                                                     Attorney for the Chapter 13 Trustee
                                                     Georgia Bar Number 142399
                                                     285 Peachtree Center Ave., N.E., Suite 1600
                                                     Atlanta, Georgia 30303
                                                     (404) 525-1110
                                                     albertg@atlch13tt.com
Case 16-69381-sms      Doc 59    Filed 11/17/20 Entered 11/17/20 10:18:18              Desc Main
                                 Document     Page 4 of 4




      A16-69381-SMS
                                   CERTIFICATE OF SERVICE

             This is to certify that on this day I caused a copy of the foregoing pleading to be
      served via United States First Class Mail, with adequate postage thereon, on the
      following parties at the address shown for each:

      DEBTOR(S):

      Landon Bradshaw Dickerson                     Terri Leigh Dickerson
      537 Autumn Ridge Drive                        537 Autumn Ridge Drive
      Canton, GA 30115                              Canton, GA 30115


      I further certify that I have on this day electronically filed the pleading using the
      Bankruptcy Court's Electronic Filing program, which sends a notice of this document and
      an accompanying link to this document to the following parties who have appeared in this
      case under the Bankruptcy Court's Electronic Case Filing program:

      GLEN JOHNSON, LLC

      This _17th __ day of November, 2020



             /s/
      Albert C. Guthrie
      Attorney for the Chapter 13 Trustee
      Georgia Bar Number 142399
      285 Peachtree Center Ave., N.E.
      Suite 1600
      Atlanta, Georgia 30303
      (404) 525-1110
      albertg@atlch13tt.com
